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From:JessicaGervacio<                                >
Sent:Tuesday,October12,20216:59PM
To:Caproni                                                          >
Subject:Today

CAUTIONͲEXTERNAL:


Goodevening,

Whydidyoudoit?WhydidyoudenyNewYorkCityteachersintoday’strial?Whyareyousomean?Somanyofusare
barelymakingitthroughthedaytryingtosurvive,payrent,andhavefoodinourfridges.It’sreallydifficulttolive
unemployed.Andit’shardtoleavethecityyouonceweresoproudtoclaimandwhereyouhavelivedforsolong.It’s
hardtoleaveforemploymentelsewhere.IworkedsohardandforsolongtobecomeaNewYorkCityteacher.Iheldmy
titlewithpride.Ilovedmystudentsandabsolutelylovedmyjob.Iwentthroughhellandbacktogetattainallmy
licensesandmakeitthroughintensiveteachertraining.Itistruthfullyinhumane,degrading,depressingandmean,to
takepeople’sjobsovermedicinethatquitefranklydoesn’tstopthespread.Whynotjustletpeoplehaveachoiceandif
theygetdiagnosedwithCOVIDͲ19,thenforthe10daysofisolationandquarantine,theydon’tgetpaid.Thatwould’ve
beenalotmorecivilandethical.Iamsodisappointedinthiscity.Thismandatehasruinedmylifealongsidemany
otherswhoweretakenoutoftheirjobs.It’sreallyhardtoliveandgoonwithlifewhenyouspentsomuchmoney
workingoncertificationexams,collegeclassesandtestpreps,tobecomeateacher.Thisyearwassupposedtobemy
tenureyear.Iworkedsohardanditallyankedfromme,takenaway,likeI’msomecriminal.It’strulysad.Ijustwantmy
jobback.Iwanttobewithmystudents,andIwanttoteachnormally.Putyourselfinourshoes,theshoesofthe
thousandsofteacherswhowereleftunemployedandfeelingliketheynolongerhaveapurpose.Howwouldyoufeelif
someonetookyourjobawayfromyou,despitehowmuchofagreatworkeryouareandhowhardyouwork?Put
yourselfinourshoes.It’snoteasy.It’sreallydifficulttogoondayafterday,withlife,feelinglikeyouhavenopurpose,
unabletoevengoanywherebecauseyoubarelyhavemoneytopayrent.It’sdifficult,andit’ssad.It’ssomeanofyouto
notgrantteachersreligiousexemptions.Itisinhumaneanditismean,evil,justterrible.Iamsosad,humiliated,and
embarrassedtobeaNewYorker.Ihopeyoucansleepatnightknowinghowmanypeoplearesufferingbecauseofthis
mandateandtoday’sterribleoutcomeintrial.γ    ζ
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Thankyouforyourtime.
CAUTIONͲEXTERNALEMAIL:ThisemailoriginatedoutsidetheJudiciary.Exercisecautionwhenopeningattachmentsor
clickingonlinks.




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